        5:17-bk-10839 Doc#: 105 Filed: 08/24/22 Entered: 08/24/22 14:28:34 Page 1 of 1


                              IN THE UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF ARKANSAS
                                         PINE BLUFF DIVISION
IN RE: PAMELA MCILWAIN                                                    CASE NO: 5:17-bk-10839 T
                                                                                        Chapter 13


                                   CHAPTER 13 ORDER TO PAY TRUSTEE
                                        (EMPLOYER WITHHOLDING)

   The above named debtor has filed a petition under Chapter 13 of the Bankruptcy Code .

   IT IS ORDERED that until further orders of this court , the entity from whom the debtor receives income:

                                     ADVANTAGES OF SE ARKANSAS
                                     168 W COLLEGE AVE
                                     MONTICELLO, AR 71655-4820

shall deduct from said income the sum of $175.00 SEMI-MONTHLY beginning on the next pay day
following receipt of this Order and deduct a similar amount each pay period thereafter, including any period
for which the debtor receives a periodic or lump sum payment as a result of vacation, termination or other
benefits arising out of present or past employment, or from other benefits payable to the debtor and to remit the
deductible sums EACH MONTH to:

                                     Jack W Gooding, Trustee
                                     4030 Momentum Place
                                     Chicago, IL 60689-5340

   IT IS FURTHER ORDERED, that this entity from whom the debtor receives income shall notify the Trustee if
the debtor's income is terminated.

   IT IS FURTHER ORDERED, that all income of the debtor, except the amounts required to be withheld for
taxes, social security, insurance or union dues, be paid to the debtor in accordance with usual payment
procedure.

  IT IS FURTHER ORDERED THAT NO DEDUCTIONS ON ACCOUNT OF ANY GARNISHMENT, WAGE
ASSIGNMENT, OR VOLUNTARY CREDIT UNION PAYMENTS BE MADE FROM THE INCOME OF SAID
DEBTOR, WITH THE EXCEPTION OF CHILD SUPPORT, UNLESS OTHERWISE ORDERED BY THE
COURT.

   IT IS FURTHER ORDERED THAT this order supersedes previous orders made in this regard to the above
entity in the case.
Date: 08/24/2022                                                       /s/ RICHARD D. TAYLOR
                                                                  Richard D. Taylor, Bankruptcy Judge

cc: PAMELA MCILWAIN - U.S.P.S.
    MATTHEW D MENTGEN (ACH) - Electronic
    JACK W GOODING - Electronic
